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                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE SEVENTH CIRCUIT



  CITY OF EAST ST. LOUIS, Individually and On behalf of all
  others similarly situated,

            Plaintiff,

  v.
                                                                           Appeal No. 22-2905
                                                                           Dist. Ct. S.D. Illinois
  NETFLIX, INC., DISNEY PLATFORM DISTRIBUTION,                             Case No. 2021-cv-00561
  INC., APPLE INC., HULU, LLC, WARNERMEDIA                                 MAB
  DIRECTV, LLC, AMAZON.COM SERVICES, LLC, CBS
  INTERACTIVE, LLC YOUTUBE LLC,
  CURIOSITYSTREAM, INC, PEACOCK TV, LLC,
  DIRECTV, LLC, and DISH NETWORK, L.L.C

            Defendants.




               CIRCUIT RULE 3 (C) AMENDED DOCKETING STATEMENT



   A. Statement of Jurisdiction for the United States District Court.

       The district court had jurisdiction over this action in accordance with 28 U.S.C.§1332(a) and

(d). Defendants are citizens of the State of different states from that of the Plaintiff, the putative

class size is greater than 100, and the aggregate amount in controversy for the proposed Class

exceeds $5,000,000.00, exclusive of interest and costs. Appellant, the City of East St. Louis,

Illinois, is an Illinois municipally and is a citizen of the State of Illinois. Appellees Netflix, Inc.

(“Netflix”), Apple Inc. (“Apple”), Hulu, LLC (“Hulu”), YouTube, LLC (“YouTube”), and

Directv LLC (“Directv”) are citizens of the State of California. Appellees Disney Platform

Distribution, Inc. (“Disney”), WarnerMedia Direct, LLC (“Warner”), CBS Interactive Inc.
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(“CBS”), and PeacockTV, LLC (“Peacock”) are citizens of the State of New York. Appellee,

CuriosityStream, Inc. (“CuriosityStream”) is a citizen of the State of Maryland. Appellee, DISH

Network, L.L.C. (“Dish”) is a citizen of the State of Colorado.

   B. Statement of Jurisdiction for the United States Court of Appeals.

   The jurisdiction of the United States Court of Appeals for the Seventh Circuit is brought under

28 U.S.C. § 1291. This appeal is taken from the final decision of the U.S. District Court for the

Southern District of Illinois entered on September 23, 2022 by the Honorable Judge Mark A.

Beatty granting Defendants’ Motions to Dismiss for Failure to State a Claim and dismissing the

Plaintiff’s Amended Class Action Complaint. The appeal is from an order and final judgment

that adjudicated all of the claims with respect to all parties, and no parties or issues remain in the

District Court. Appellant did not file a motion for new trial or alteration of the judgment.

The notice of Appeal was filed on October 24, 2022.

       Dated November 7, 2022
                                                                            Respectfully submitted,


                                 THE CITY OF EAST ST. LOUIS, INDIVIDUALLY
                  AND ON BEHALF OF OTHERS SIMILARLY SITUATED, PLAINTIFF,

                                                                              /s/ Melissa K. Sims
                                                                      Melissa K. Sims, #6231297
                                                                 MILBERG COLEMAN BRYSON
                                                                  PHILLIPS GROSSMAN, PLLC
                                                                          100 Garden City Plaza
                                                                         Garden City, NY 11530
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on November 7, 2022, I electronically filed Appellant/Plaintiff’s
DOCKETING CASE STATEMENT using the Court’s CM/ECF system. Participants in the case
who are registered CM/ECF users will be served by the CM/ECF system.

Dated: November 7, 2022

                                                                        Respectfully submitted,

                                                                         /s/ Melissa K. Sims
                                                                 Melissa K. Sims, #6231297
                                                            MILBERG COLEMAN BRYSON
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